       Case 1:22-cr-00015-APM          Document 412        Filed 11/30/22     Page 1 of 1




                                      Summary Evidence

       When I provided you with the final instructions last week, I neglected to include an

instruction on summary exhibits and testimony about summary exhibits.

       The government introduced summary exhibits that were a summary of voluminous records.

You may consider the summary exhibits as you would any other evidence admitted during the trial

and give them such weight or importance, if any, as you feel they deserve.

       In addition, certain law enforcement agents provided testimony about summary exhibits.

This included:

       •         Testimony from FBI Special Agent Whitney Drew about Exs. 1500, 1502, 1530.1,
                 and 1555;
       •         Testimony from FBI Special Agent Sylvia Hilgeman about Exs. 1501 and 6925;
       •         Testimony from FBI Special Agent John Moore about Exs. 1540 and 1555.


Insofar as these agents testified about the contents of a summary exhibit, you should consider such

testimony only as an aid in evaluating the summary exhibit. Any other testimony of these agents

should be evaluated consistent with the instructions I already have given you about evaluating

witness testimony.
